861 F.2d 266Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Joseph Harry SINE, Petitioner-Appellant,v.STATE of Maryland, Respondent-Appellee.
    No. 88-6620.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  Aug. 16, 1988.Decided:  Oct. 21, 1988.
    
      Joseph Harry Sine, appellant pro se.
      Before JAMES DICKSON PHILLIPS, ERVIN and WILKINSON, Circuit Judges.
      PER CURIAM:
    
    
      1
      Joseph Sine appeals from the district court's order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2254.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Sine v. State of Maryland, CA-88-807-S (D.Md. April 5, 1988).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    